             Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 1 of 16




                                              October 11, 2019

Via email & Electronic Portal Filing

AAA Arbitrator Sharon P. Stiller, Esq.
Abrams Fensterman, LLP
160 Linden Oaks, Suite E
Rochester, NY 14625

                Re:    Matthew Swain v. Hermès of Paris and Lorenzo Bautista
                       AAA No.: 01-19-0001-3018

Dear Arbitrator Stiller,

       On behalf of claimant Matthew Swain, and pursuant to our conference call on October 4, 2019,

this letter is respectfully submitted in opposition to the Hermès request for reconsideration of Your

October 1st Order denying their motion to dismiss.

       As noted in our call, the Order concluded by asking if the LAD statute of limitations defense

was (1) raised earlier by Hermès against Mr. Swain’s claims, which it could have been, (2) why it was

not raised earlier if it could have been, and (3) whether the defense has been waived.

       Hermès argues they did not previously raise the defense because a court was the wrong forum,

and that it therefore is not waived. Refuting that argument, I have attached three (3) separate instances,

with highlighting, where Hermès unsuccessfully raised the LAD statute of limitations defense in court:

       (1)      in their March 21, 2018 brief filed in the N.J. Superior Court Law
                Division opposing Swain’s motion to reinstate,

                •      the preliminary statement argued Swain “has spent the last 21
                       months” disputing the Hermès DRP and opposed the S.D.N.Y.




                                                     1
      Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 2 of 16




                petition to compel arbitration “18 months ago,” showing a
                knowledge and calculation of the timing issue;

         •      On page 18, Hermès argued “[b]ut once the Second Circuit
                affirmed the Order compelling Swain to submit his claims to
                arbitration, it was incumbent upon Swain to initiate arbitration if
                he wished to preserve his rights. Rather than do that, Swain sat
                silent for months as his claims eventually became time-barred.”

         •      Footnote 6 preceding that quote cited to the LAD statute of
                limitations. (Exhibit A)

(2)      in their March 29, 2018 oral argument before Law Division Judge Lynott
         on Swain’s motion to reinstate,

         •      Hermès counsel made the following representation at T24:24 –
                25:9:

                Judge Lynott: Is it your position [Swain] can’t do that
                now (file for arbitration)?

                Mr. Sandak: I think we heard [Mr. Hager] say he can’t
                do that now, right. I disagree with him in terms of his
                reading of the applicable limitation period. The provision
                that’s operative says either six months or if the governing
                statute has its own statute of limitations, that limitations
                period. But that limitations period under the LAD is two
                years and that periods also passed. It passed in November
                of last year. (Exhibit B)

(3)      in their December 3, 2018 brief filed in the N.J. Superior Court Appellate
         Division opposing Swain’s appeal of the Law Division Order,

         •      footnote 6 argued “[i]n this matter, it is the ‘alternative filing
                period’ that applies because Swain’s claims under the NJLAD
                have a two-year filing period. Nonetheless, Swain has allowed
                even that longer period to lapse.”

         •      On page 21, Hermès argued “once the Second Circuit affirmed
                the Order compelling Swain to submit his claims to arbitration, it
                was incumbent upon Swain to initiate arbitration if he wished to
                preserve his rights. Rather than do that, however, Swain sat silent
                for months as his claims eventually became time-barred.”
                (Exhibit C).




                                              2
             Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 3 of 16




        In addition to these documents, Mr. Sandak was directly asked by N.J. Appellate Division

Fasciale during the April 1, 2019 oral argument if Hermès contended Swain’s LAD claims were barred

by the statute of limitations. Mr. Sandak responded “yes.” I do not know of a transcript for that

argument, but represent it occurred as an officer of the court. As we know, the last sentence of the

Appellate Division’s Opinion is: “[w]e therefore order the parties to arbitrate plaintiff’s claims.”

        A.      Conclusion

        For the reasons set forth above, claimant Matthew Swain respectfully requests that there be no

reconsideration of the October 1st Order denying respondents’ motion to dismiss this arbitration. By

failing to formally and properly raise the LAD statute of limitations defense in court, which it could

have done, Hermès waived the defense. There is therefore no basis to reconsider the Order.

                                                 Respectfully submitted,
                                                 HAGER LAW, LLC
                                                 Attorney for Claimant Matthew Swain

                                                 s/ Christopher W. Hager




                                                        3
HAGER LAW, LLC 55 Madison Avenue, Suite 400 Morristown, NJ 07960
Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 4 of 16




                 Exhibit A
      ESX-L-004996-16 03/21/2018 5:34:33 PM Pg 1 of 26 Trans ID: LCV2018506598
       Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 5 of 16




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Attorneys for Defendants
Hermés of Paris, Inc. and Lorenzo Bautista

----------------------------------- X
                                               : SUPERIOR COURT OF NEW JERSEY
MATTHEW SWAIN,                                 :  LAW DIVISION: ESSEX COUNTY
                            Plaintiff,         :
        -against-                              :    DOCKET NO.: ESX-L-4996-16
                                               :
HERMÉS OF PARIS; LORENZO BAUTISTA, :
Individually; ABC Corporation(s) 1-5; and JOHN :
and/or JANE DOE(S) 1-5,                        :
                            Defendants.        :
                                               :
----------------------------------- X




       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO
                REINSTATE NJLAD COMPLAINT
      ESX-L-004996-16 03/21/2018 5:34:33 PM Pg 6 of 26 Trans ID: LCV2018506598
       Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 6 of 16




                                PRELIMINARY STATEMENT

       Plaintiff Matthew Swain, who was employed for three months by Defendant Hermés of

Paris (“Hermés”), has spent the last 21 months attempting to renege on the agreement he made to

arbitrate any dispute arising out of his employment and waive any right to have his dispute heard

in court. Despite his promise not to commence any court action against Hermés, Swain’s

campaign to evade arbitration has brought this matter before three courts, including this one –

now, for a second time. He has yet to succeed. The instant motion is made in open defiance of a

federal court order compelling arbitration of his claims under the New Jersey Law Against

Discrimination (“NJLAD”) -- a decision affirmed by the Second Circuit -- and an Order of this

Court dismissing his NJLAD claims, subject to reinstatement only if Swain were to prevail on

his then-pending appeal to the Second Circuit (which he did not).

       Swain’s substantive attacks on the arbitration agreement he signed, made by and through

his counsel, have ranged from groundless to incomprehensible and continue in the same vein on

the instant motion. Swain’s one and only opportunity to challenge the arbitration agreement --

on any grounds -- was when he responded to Hermés’ Petition to compel arbitration under the

Federal Arbitration Act (the “FAA”) in federal court, 18 months ago. Having given the parties a

full and fair opportunity to be heard in that proceeding, the federal court determined that Swain

signed the arbitration agreement; that the agreement is valid and enforceable; and that Swain’s

claims could be heard only in arbitration under the terms of Hermés’ comprehensive dispute

resolution program (the “DRP”).

       When Swain persisted in pursuing his claims in this Court, in disregard of the federal

court Order, and submitted a 39-page brief arguing that the DRP was “ambiguous” and

“unconscionable,” and that Hermès “waived” its right to enforce the agreement because it

breached the DRP -- precisely the arguments he now makes -- Judge Schott ruled that Swain’s
       ESX-L-004996-16 03/21/2018 5:34:33 PM Pg 18 of 26 Trans ID: LCV2018506598
         Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 7 of 16




arbitration on Hermés.6 But once the Second Circuit affirmed the order compelling Swain to

submit his claims to arbitration, it was incumbent upon Swain to initiate arbitration if he wished

to preserve his rights. Rather than do that, Swain sat silent for months as his claims eventually

became time-barred.

         Swain’s argument is equally misplaced with respect to the arbitration forum fees. Swain

complains that Hermés failed to “advance” such fees and cites to Roach for the proposition that

an “employer’s failure to pay required costs of arbitration [is] a material breach of [its

obligations in connection with arbitration].” Id. at 176 (citing Sink v. Aden Enters., 352 F.3d

1197, 1201-02 (9th Cir. 2003). But in Roach (and in the Ninth Circuit decision that Roach cites),

the defendant employer failed to pay the requisite fees after the plaintiffs had properly

commenced arbitration in accordance with the parties’ agreement. Here, no arbitration was

commenced, and thus, there were no fees to be paid. Had Swain properly commenced

arbitration, Hermés was ready, willing and able to participate in the arbitration process, including

payment of the arbitration fees. Unlike in Roach, where the plaintiffs commenced arbitration

twice and BM ignored both the arbitration demand and notices from the AAA requesting the fee

payment, Hermés did not hear a word from Swain since the Second Circuit’s decision

compelling him to arbitration.




6
 Swain states (falsely) that once the Second Circuit issued its decision, Hermés had six months to initiate
arbitration. (Swain Br. at 3.) But the DRP states, “either you or [Hermés] may initiate final and binding arbitration
within six months after you or [Hermés] become aware, or should have reasonably become aware, of the facts
giving rise to the dispute, unless the dispute arises under a law that provides an alternate filing period, in which
case such period shall apply.” (Ex. B, p. 2)(emphasis added) In this matter, it is the “alternative filing period” that
applies because Swain’s claims under the NJLAD provide for a longer filing period.

                                                          13
ESX-L-004996-16 03/21/2018 5:34:33 PM Pg 26 of 26 Trans ID: LCV2018506598
 Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 8 of 16
Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 9 of 16




                   Exhibit B
                 Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 10 of 16
FILED, Clerk of the Appellate Division, September 11, 2018, A-004682-17
                                                 SUPERIOR COURT OF NEW JERSEY
                                                 LAW DIVISION, CIVIL PART
                                                 ESSEX COUNTY, NEW JERSEY
                                                 DOCKET NO. ESX-L-4996-16
                                                 A.O. NO.: �-004682-17-T4
             MATTHEW SWAIN                       )
                                                 )         TRANSCRIPT
                           Plaintiff             )
                                                 )              OF
                   VS.                           )
                                                 )           MOTION
              HERMES OF PARIS, INC., ET
             AL.                                 )

                            Defendant            )

                                        Place:   Essex County Historic Courthouse
                                                 470 Martin Luther King Jr. Blvd.,
                                                 3rd Floor
                                                 Newark, New Jersey 07102

                                         Date:   March 29, 2018

              BEFORE:

                    THE HONORABLE KEITH E. LYNOTT, J.S.C.

              TRANSCRIPT ORDERED BY:

                    CHRISTOPHER W. HAGER, ESQ. (Niedweske, Barber, Hager)

              APPEARANCES:

                    CHRISTOPHER W. HAGER, ESQ. (Niedweske, Barber, Hager)
                    Attorney for the Plaintiff, Matthew Swain

                     LAWRENCE R. SANDAK, ESQ. (Proskauer Rose, L.L.P.)
                     Attorney for the Defendant, Hermes of Paris, et al.



              A
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           Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 11 of 16
FILED, Clerk of the Appellate Division, September 11. 2018, A-004682-17
                                                                         24
    1                        THE COURT: That would be Roach?
    2                        MR. SANDAK: Right, right. Because in Roach
    3              the consumers, who stand in the place of the employees,
    4              they commenced and then the company stood in the way of
    5              the arbitration's proceeding. They didn't pay, they
    6              received notices, the AAA contacted them. As the AAA
    7              will always do when a fee isn't paid saying you need to
    8              pay the fee for us to proceed. And they were in
    9              essence standing in the way of proceeding. And the
  10               court in Ro_ach said you can't have it both ways. You
  11               can't both force the consumers into an arbitration and
  12               then --
  13                         THE COURT: Right.
  14                         MR. SANDAK: Refuse to proceed in the
  15               arbitration, stand in the way. And that's what
  16               happened here. But here, that's not the issue. Here
  17               it would have been entirely simple, and I have no idea
  18               as I'm staying here now why Mr. Swain, if he wanted to
  19               have his claims heard, did not commence an arbitration.
  20               It would have been simple for him to do so. And we
  21               probably would have had the arbitration by now. He
  22               just never did. And he can't foist responsibility for
  23               that onto Hermes.
  24                         THE COURT: Is it, is it your position that
  25               he can't do that now?




                                                                              25
    1                          MR. SANDAK: I think we heard him say he
    2               can't do that now, right. I disagree with him in terms
    3               of his reading of the applicable limitation period.
    4               The provision that's operative says either six months
    5               or if the governing statute has its own statute cf
    6               limitations, that limitations period. But that
    7               limitations period under the LAD is two years and that
    8               periods also passed. It passed in November of last
    9               year. So
   10                          THE COURT: How, just one other.
   11                          MR. SANDAK: Sure.
   12                          THE COURT: One other point. I mean counsel
   13               says that the way this shou ... , as I understand it, and
   14               he'll correct me if I misstate it. The way this should
   15               be read is this we or you may initiate an arbitration,
   16               is I can, I can go to court if, and if you don't do
   17               anything to, you know, to derail that to -- by
   18               commencing an arbitration, then I get to go to court.
   19                I'm not required by the you or we may initiate an
   20               arbitration. I'm not required to go to arbitration. I
   21               can start a lawsuit in court. And then it becomes up
   22               to you. If you want an arbitration, you have to start
   23                onQ. Why isn't that a reasonable reading of the
   24                language?
   25                           MR. SANDAK: Well, in the context of this
Case 1:16-cv-06255-CM Document 28-20 Filed 01/16/20 Page 12 of 16




                   Exhibit C
                 Case
FILED, Clerk of the    1:16-cv-06255-CM
                    Appellate                     Document
                              Division, December 03,            28-20
                                                     2018, A-004682-17   Filed 01/16/20 Page 13 of 16




                                          d
                    Superior Court of New Jersey
                                             APPELLATE DIVISION
                                           DOCKET NO. A-004682-17T4




            MATTHEW SWAIN,                                                   CIVIL ACTION
                                              Plaintiff-Appellant,
                                                                             ON APPEAL FROM AN
                                                                             ORDER OF THE SUPERIOR
                                 —against—
                                                                             COURT OF NEW JERSEY,
                                                                             ESSEX COUNTY
            HERMÉS OF PARIS; LORENZO BAUTISTA,                               ESX-L-499-16
            Individually; ABC CORPORATION(S) 1-5; and                        SAT BELOW:
            JOHN and/or JANE DOE(S) 1-5,                                     HON. KEITH LYNOTT
                                                                             J.S.C.
                                        Defendants-Respondents.




                 BRIEF AND APPENDIX (Da001 - 004) FOR DEFENDANTS-
             RESPONDENTS HERMÉS OF PARIS, INC. AND LORENZO BAUTISTA



                                                                     LAWRENCE R. SANDAK
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                                                                     EDNA D. GUERRASIO
                                                                        (No. 018432008)
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                                                                       Lorenzo Bautista
                 Case
FILED, Clerk of the    1:16-cv-06255-CM
                    Appellate                     Document
                              Division, December 03,            28-20
                                                     2018, A-004682-17   Filed 01/16/20 Page 14 of 16



       agreement would create a perverse incentive for companies to

       refuse to participate in properly initiated arbitrations in the

       hopes that the opposing party would become frustrated and

       eventually give up.                 Id.

                As Judge Lynott expressly determined, Roach has no

       relevance to the instant litigation because unlike BM, Hermés

       took no action to avoid its responsibilities under the DRP.                                      To

       the contrary, Hermés sent Swain’s counsel a copy of the DRP upon

       learning of Swain’s intention to file suit, initiated mediation,

       and then petitioned the federal court to compel arbitration.

       Swain argues that under Roach, these actions, coupled with

       Hermés’ victory in the Second Circuit, somehow placed the burden

       of initiating arbitration on Hermés.6                             But that is not the result

       called for under Roach.                    Roach held that “when an employer

       enters into an agreement requiring its employees to arbitrate,

       it must participate in the process or lose its right to

       arbitrate.”           Roach, 228 N.J. at 176-177, 180-181.                        The Court


       6 Swain states (falsely) that once the Second Circuit issued its
       decision, Hermés had six months to initiate arbitration.
       (Appellant’s Br. at 3.) But the DRP states, “either you or
       [Hermés] may initiate final and binding arbitration within six
       months after you or [Hermés] become aware, or should have
       reasonably become aware, of the facts giving rise to the
       dispute, unless the dispute arises under a law that provides an
       alternate filing period, in which case such period shall apply.”
       (Ex. B, p. 2)(emphasis added) In this matter, it is the
       “alternative filing period” that applies because Swain’s claims
       under the NJLAD have a two-year filing period. Nonetheless,
       Swain has allowed even that longer period to lapse.

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                 Case
FILED, Clerk of the    1:16-cv-06255-CM
                    Appellate                     Document
                              Division, December 03,            28-20
                                                     2018, A-004682-17   Filed 01/16/20 Page 15 of 16



       said nothing about initiating an arbitration and Swain’s attempt

       to conflate “participate” with “initiate,” finds no support in

       Roach.        As expressed by the Law Division, once the Second

       Circuit affirmed the Order compelling Swain to submit his claims

       to arbitration, it was incumbent upon Swain to initiate

       arbitration if he wished to preserve his rights.                                 Rather than do

       that, however, Swain sat silent for months as his claims

       eventually became time-barred.

                Swain’s argument is equally misplaced with respect to

       Roach’s application to the arbitration forum fees.                                 Swain

       complains that Hermés failed to “advance” such fees and cites to

       Roach for the proposition that an “employer[’s] … ‘failure to

       pay required costs of arbitration [is] a material breach’ of

       [its obligations in connection with arbitration].”                                 Id. at 176

       (quoting Sink v. Aden Enters., 352 F.3d 1197, 1201-02 (9th Cir.

       2003).        But in Roach (and in the Ninth Circuit decision that

       Roach cites), the defendant employer failed to pay the requisite

       fees after the plaintiffs had properly commenced arbitrations

       that the defendant had insisted upon.                              Here, as correctly noted

       by Judge Lynott, Swain did not commence an arbitration and

       therefore the AAA did not ask for payment of its filing fees and




                                                             21
                 Case
FILED, Clerk of the    1:16-cv-06255-CM
                    Appellate                     Document
                              Division, December 03,            28-20
                                                     2018, A-004682-17    Filed 01/16/20 Page 16 of 16



                                                      CONCLUSION

                Defendants-Respondents respectfully request that the Court

       affirm the Decision and Order of the court below.



       Dated:           November 26, 2018                       Respectfully submitted,
                        Newark, New Jersey
                                                                PROSKAUER ROSE LLP

                                                                By:       s/ Lawrence R. Sandak
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                                                                         Respondents




                                                             31
